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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       Cr. No. 16-cr-10096-PBS
                                               )
BROWNING MEJIA, a/k/a                          )
“Nozzle”                                       )
      Defendant                                )

                      GOVERNMENT’S SENTENCING MEMORANDUM

       On May 1, 2017, the defendant, Browning Mejia, a/k/a “Nozzle,” pleaded guilty to Using

a Communications Facility in the Commission of a Felony Drug Offense, in violation of 21

§ U.S.C. § 843(b). The Pre-sentence Report prepared by the United States Probation Office,

dated October 12, 2017 (“PSR”), concluded that the defendant’s guideline sentencing range is

10-16 months. See PSR, pg. 80.

       For reasons to be discussed in more detail at the defendant’s sentencing hearing, in

accordance with the plea agreement between the government and the defendant, the government

recommends that the Court sentence the defendant to 10 months in prison, with 5 months to run

concurrent to the sentence the defendant is currently serving and 5 months to run consecutively.

It is a sentence that is sufficient but not greater than necessary to achieve the goals of sentencing.

See 18 U.S.C. § 3553(a). The government also recommends that the Court sentence the

defendant to one year of supervised release.

                                               Respectfully submitted,

                                               WILLIAM D. WEINREB,
                                               Acting United States Attorney

                                       By:     /s/ Miranda Hooker
                                               Miranda Hooker
                                               Eric S. Rosen
                                               Assistant U.S. Attorneys
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                                 CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on October 18, 2017.

                                             /s/ Miranda Hooker
                                             Miranda Hooker
                                             Assistant U.S. Attorney




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